         Case 2:09-cr-00261-GMN-RJJ        Document 94       Filed 06/21/10     Page 1 of 2




                                   UNITED STATES DISTRICT CO URT
                                           DISTRICT O F N EV AD A
         UNITED STATES OFAMERICA,                       )
                                                        )
                              Plaintiff,                )
                                                        )
                                                        )         2:09-CR-261-PMP IR)JI
                                                        )
         NATHAN RAY DENT,                               )
                                                        )
                             Defendant.                 )
                                     FINA L O R D ER O F FO RFE ITU R E
                On M arch 19,20l0,the U nited States D istrict Courtfor the D istrictof N evada entered a
         PreliminaryOrderofForfeiturepursuanttoTitle18,UnitedStatesCode, Sections924(d)(1)andTitle
         28,UnitedStatesCode,Section2461(c),baseduponthepleaofguiltybydefendantNATHAN RAY
         DENTtocriminalofftnse,forfeitingspecitscpropeo allegedintheSupersedingCliminallndictm enî
         and shownbytheUnitedStatestohavearequisitenexusto theoffenseto whichdefendantN A-l-l-lAN
         RAY DENT pled guilty.
                This Courtiinds the Uniled States of America published the notice oftbe forfeiture in
21; accordance with the law via the ofticialgovernm entinternetforfeiture site. www.fbrfeiture,gov,
  iI
22!j consecutivelyfrom M arch27, 2010throughApril25,2010,notifyinga1lknownthirdpartiesoftheir
     I
23 rightto petition the Court.
24              This Courtfinds no petition w as filed herein by oron behalfofany person orentity and the
25 tim e fortiling such petitionsand claim s has expired.
26
l            Case 2:09-cr-00261-GMN-RJJ              Document 94       Filed 06/21/10   Page 2 of 2
i
1    *>
          1

i    1                ThisCourtfindsnopetitionsarependingwithregardto theassetsnam edhereinand thetime
!
:    2        forpresenting such petitions has expired.
     3                THEREFORE,IT IS HEREBY ORDERED,ADJUDGED,AND DECREED thatal1right,

i    4 title,and interest in the property hereinafter described is condem ned, forfei
                                                                                    ted,and vested in the
     5        United States ofAmerica pursuantto Fed.R,Crim .P.32.2(b)(4)(A)and (B);Fed.R.Crim.P.

     6;
      ;. 32.2(c)(2);Title18,UnitedStatesCode,Sections924(d)(1)andTitle28,UnitedStatesCode,Section .
                                                                                                  :
'      4 .
         .


i    7Ii
       1 2461(c);andTitle21, United StatesCode,Section853(n)(7)andshallbedisposedofaccordingto ;
i                                                                                                            I
,    g jgk&yr:

     9                      a)     a 6iRG40''Smith and Wesson .38 specialcaliberrevolver(serialnumber
E   l0                              156048),includingany ammunition contained inthetirearm orrelatedto it;
    11                             and
    12                      b)     aç:SigSa          ,1
                                           uer5P2022 semi-atdomaticairpoweredpelletgun (serialnumber
    13                             933186),includinganyammunition containedinthefireannorrelatedto it.
    14                             (%ûproperty'').
    15               IT IS FURTHER ORDERED,ADJUDGED,AN D DECREED thatany and alIforfeited !
         )I
    16' funds, includingbutnotlim itedto,currency currencyequivalents,certificatesofdeposit,aswellas I
                                                          ,

    17 anyincomederivedasaresultoftheUnitedStatesofAmerica'smanagem entofanypropertyforfeited
    18 herein,andtheproceedsfrom thesaleofany forfeitedpropertyshallbedisposedofaccordingto law ,
    l9               n eClerk ishereby directed to send copiesofthisOrderto al1counselofrccord and three
         !
    2011 certifiedcopiestotheUnitedStatesAttorney'sOf
    21               DA TED this       bv.- dayor             'yvwt-      ,
                                                                              2010.
    22
    23                                                                 STA TES DISTRICT JUD G E
         I
    241l
       '                                                                                                     '
                                                                                                             .

    25
    26




      I
                                                              2                                              !
